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      EXHIBIT 1
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June 30, 2014 Photoshoot Western Union Transfer (from line 37 in WU spreadsheet)

US Amt Control #  Sender Name               Send Agent     Sender Phone Date
250.00 9394451096 MICHAEL CLEMANS           AKC383903      9169255984 6/30/2014

Time           Sender Credit Card    Sender IP             Sender Address
09:06:00       458155XXXXXX9603      114.109.185.133       700 BLACKMER CIRCLE SACRAMENTO
                                                           CA     95825 US

Currency       Amount        Payee Name Pay Agent          Payee Phone    Date
USD            250.00        LYAN TANDEG API223327         9153368883     7/1/2014

Pay Time       Payee DOB     Type of ID     Passport #     Payee Location
01:49:00       1987.12.12    A (Passport)   EB0108065      DFA PAMPANGA

Payee Address
BAMBANG TONDO MANILA PH

Pay Currency   Amount        Send Agent Name                       Send Agent Address
PHP            10662.73      WUINT WU DIG MT WEB ACCOUNT           12150 E BELFORD AVE
                                                                   ENGLEWOOD CO        80112

Pay Agent Name                       Pay Agent Address
DA5 DOMINION PAWSNHOP                P GOMEZ STREET 640 COR CARRIEDO STREET        MANILA
                                     1001 METRO MANILA          PH

Sender Email                 Sender Preferred Card
CLEMANSM@HOTMAIL.COM         682660946
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July 1, 2014 Photoshoot Western Union Transfer (from line 37 in WU spreadsheet)

US Amt Control #  Sender Name                Send Agent     Sender Phone Date
550.00 6328335645 MICHAEL CLEMANS            AKC034423      9169255984 7/2/2014

Time           Sender ID             Sender Credit Card     Sender IP
00:55:00       NV DL 0804590037      458155XXXXXX9603       114.109.185.133

Sender Address
700 BLACKMER CIRCLE SACRAMENTO
CA     95825 US

Currency       Amount         Payee Name Pay Agent          Payee Phone      Date
USD            550.00         LYAN TANDEG API198874         9153368883       7/2/2014

Pay Time       Payee DOB      Type of ID     Passport #     Payee Location
03:30:00       1987.12.12     A (Passport)   EB0108065

Payee Address
BAMBANG TONDO MANILA PH

Pay Currency   Amount         Send Agent Name                Send Agent Address
PHP            23432.22       WU WEB MT SENDING AGENT NONARS 12500 BELFORD AVE
                                                             ENGLEWOOD CO               80112

Pay Agent Name                Pay Agent Address
JEWELHOUSE PAWNSHOP & JEWELRY MC ARTHUR HIGHWAY, DAU                MABALACAT
                              2010 PAMPANGA      PH

Sender Email                  Sender Preferred Card
CLEMANSM@HOTMAIL.COM          682660946
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February 19, 2015 Photoshoot Western Union Transfer (MTCN: 3579804172 in spreadsheet)


US Amt Control #      Sender Name          Send Agent     Sender Phone Date
225.00     3579804172 MICHAEL CLEMANS      AKC403616      9169255984       02/19/2015


Time           Sender DOB           Sender Credit Card    Sender IP
16:43:00       1960.05.26                                 61.7.179.64


Sender Address
700 BLACKMER CIRCLE
SACRAMENTO CA       95825 US

Currency       Amount        Payee Name Pay Agent         Payee Phone      Date
USD            225.00        LYAN TANDEG API367801        9153368883       02/20/2015

Pay Time       Payee DOB     Type of ID    Passport #     Payee Location
03:51:00       1987.12.12    A             EB0108065      PHILIPPINES

Payee Address
1902 MASANGKAY ST TONDO      MANILA CITY                  PH

Pay Currency   Amount        Send Agent Name                      Send Agent Address
PHP            9664.35       WU DIGITAL -WU.COM CREDIT CARD       12500 BELFORD AVE
                                                                  ENGLEWOOD CO          80112


Pay Agent Name                      Pay Agent Address
RAQUEL PAWNSHOP INC CALOOCAN        UNIT A-3 SANGANDAAN PLAZA, A. MABINI ST CALOOCAN
                                    METRO MANILA       PH


Sender Email                 Sender Preferred Card
CLEMANSM@HOTMAIL.COM         682660946
